Case 3:17-cv-03755-FLW-DEA Document 12-6 Filed 06/05/17 Page 1 of 3 PageID: 345




                         EXHIBITF
Case 3:17-cv-03755-FLW-DEA Document 12-6 Filed 06/05/17 Page 2 of 3 PageID: 346



                                                                       I111\l\ \Ill\ Ill\\ 111\l l\111 \ll\l \Ill\ l\11 \\l\
                                                                      1106725                                0-943-207-1
                                                                      ~enial-Decision                               Letter (a
                                                                                   National Board of Medical Examiners
                                                                                   3750 Mar~el Slr<!~l
                                                                                   Philadelphia, PA 19101\-3102

                                                                                  215-590-9500 phone
                                                                                  www.nbme.org


                                             Confidential

   December 9, 2016


   Bryan Wellington Messenger
   1113 Magnolia Ln
   Branchburg, NJ 08876

   RE: USMLE Step 2 CK                                 USMLE ID#: 0-943-207-1

   Dear Mr. Messenger:

   We have thoroughly reviewed the documentation provided in support of your request for test
   accommodations for the United States Medical Licensing Examination (USMLE) Step 2 Clinical
   Knowledge (CK). We conducted an individualized review of your request in accordance with the
   guidelines set forth in the amended Americans with Disabilities Act (ADA).

   You report the basis of your request to be "Dyslexia" diagnosed in 2011. You write in your
   personal statement, "!have a strong bedside manner, and scored well on the STEP 2 CS exam.
   However, when it comes to taking the STEP 2 CK, I am reminded of how difficult it is for me to
   decode informalion in the questions under the given time restrictions. My knowledge is there, but
   I take longer than the average student to process what is actually being asked of me, and many
   times, because I am in a hurry, I misinterpret the question."

   In addition to the documents previously reviewed for your Step 2 CK request, you submitted
   early school records, standardized test score reports, and your high school transcript.
   Accommodations are provided when there is clear documentation of functional impairment and a
   rationale to demonstrate that the requested accommodation is appropriate to the setting and
   circumstance. Your documentation does not demonstrate that the requested accommodations are
   an appropriate modification of your USMLE Step 2 CK test administration. Our thorough
   review of all of your documentation found no new substantive information or evidence that alters
   our original decision communicated in our March 3, 2016 letter. Therefore, after a thorough
   review of all of your documentation, I must inform you that we are unable to provide you with
   the requested accommodations.

   The ADA defines disability as a physical or mental impairment that substantially limits one or
   more major life activities. Accommodations are intended to provide access to the USMLE
   testing program for individuals with a documented disability as defined by the ADA. A
   diagnostic label, in and of itself, does not establish coverage under the ADA, nor does prior
   receipt of accommodations for a particular activity guarantee that identical accommodations are
   indicated or will be available in all future settings and circumstances. The ADA covers
Case 3:17-cv-03755-FLW-DEA Document 12-6 Filed 06/05/17 Page 3 of 3 PageID: 347




   individuals who are substantially limited in a major life activity. Determination of whether an
   individual is substantially limited in functioning as compared to most people is based on
   assessment of the current impact of the identified impairment.

   We will request processing of your exam application without test accommodations. You may
   inquire at permits@ecfmg.org or call Applicant Information Services at (215) 386-5900 with any
   questions about your scheduling permit.

   Sineerely,

    /~(})~
   Lucia Dwyer, Ph.D.
   Disability Assessment Analyst, Disability Services
